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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,
                                                                     8:22CR222
       vs.
                                                             MOTION TO RESTRICT
MARK BERNAL, a/k/a “Mark Reyes”,

                      Defendant.


       COMES NOW the United States of America, by and through the undersigned Assistant

United States Attorney, and moves this Court to restrict Plaintiff’s Sentencing Memorandum and

Response to Defendant’s Objection to the PSR and Motion for Downward Variance.

                                                     UNITED STATES OF AMERICA,
                                                     Plaintiff

                                                     SUSAN T. LEHR
                                                     Acting United States Attorney
                                                     District of Nebraska

                                             By:     s/ Christopher L. Ferretti
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on September 1, 2023, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which sent notification of such filing to all registered
participants. I also hereby certify that a copy of the same was served by regular mail, postage
prepaid, to the following non-CM/ECF participants: None.

                                                     s/ Christopher L. Ferretti
                                                     Assistant U.S. Attorney
